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                   EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,


                            Plaintiffs,
 v.


 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD                        Civil Action No. 3:17-cv-00072-NKM
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSLEY,                   PLAINTIFFS’ SECOND SET OF
 IDENTITY EVROPA, MATTHEW                            INTERROGATORIES TO
 HEIMBACH, MATTHEW PARROTT a/k/a                 DEFENDANT MICHAEL PEINOVICH
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,


                            Defendants.



       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (“FRCP”), Plaintiffs

 hereby request that Defendant Michael Peinovich answer under oath the Second Set of
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 Interrogatories (“Interrogatories”) set forth below within the time specified in Rule 33, unless

 otherwise agreed by the parties or required by any scheduling order entered by the Court in this

 action.

            The Definitions and Instructions that appear below form an integral part of the

  Interrogatories that follow and must be read in conjunction with them and followed when

  responding to the Interrogatories.

                                            DEFINITIONS

            In each Definition, the singular shall include the plural and the plural shall include the

  singular. Terms used herein shall have the following meanings:

           1.     “Communication” means, in addition to its customary and usual meaning, every

 contact of any nature, whether documentary, electronic, written, or oral, formal or informal, at

 any time or place and under any circumstances whatsoever whereby information of any nature is

 transmitted or transferred by any means, including, but not limited to letters, memoranda,

 reports, emails, text messages, instant messages, social media postings, telegrams, invoices,

 telephone conversations, voicemail messages, audio recordings, face-to-face meetings and

 conversations, and any other form of communication or correspondence. Without limiting the

 foregoing in any manner, commenting as well as any act of expression that is not directed at a

 specific person, or otherwise may not be intended to provoke a response (such as a social media

 posting, “likes,” “shares,” or any other form of reacting to another’s use of social media), are

 forms of communication.

           2.     “Court Filings” refers to any and all filings made by you, now or in the future, in

 this action, including: Motion to Dismiss of Defendant Michael Peinovich (ECF No. 117);

 Memorandum in Support of Motion to Dismiss of Defendant Michael Peinovich (ECF No. 118);



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 Defendant Michael Peinovich’s Motion for Permission to Participate in Electronic Filing (ECF

 No. 133); Defendant Michael Peinovich’s Opposition to Plaintiffs’ Motion to Preclude Him from

 Recording the Parties’ Discovery Negotiations (ECF No. 134); Motion to Dismiss by Defendant

 Michael Peinovich (ECF No. 212); Memorandum in Support of Motion to Dismiss by Defendant

 Michael Peinovich (ECF No. 213); Motion to Stay Discovery by Defendant Michael Peinovich

 (ECF No. 224); Defendant Michael Peinovich’s Memorandum in Support of Motion to Stay

 Discovery Pending Motion to Dismiss (ECF No. 225); Defendant Michael Peinovich’s Motion to

 Quash Plaintiffs’ Subpoenas to Twitter, GoDaddy, Cloudflare, and Hatreon (ECF No. 226); M

 Defendant Michael Peinovich’s Motion to Require Plaintiffs’ Full Compliance with Fed. R. Civ.

 P. 45(A)(4) and (B)(4) or in the Alternative to Quash; and Memorandum in Support (ECF No.

 229); Defendant Michael Peinovich’s Reply Memorandum in Further Support of His Motion to

 Dismiss Plaintiffs’ Amended Complaint (ECF No. 251); Defendant Michael Peinovich’s Reply

 Memorandum in Further Support of His Motion to Stay Discovery Pending Motion to Dismiss

 (ECF No. 252); Defendant Michael Peinovich’s Reply Memorandum in Further Support of His

 1) Motion To Quash Plaintiffs’ Subpoenas to Twitter, Godaddy, Cloudflare, and Hatreon, and 2)

 Motion to Require Plaintiffs’ Full Compliance with Fed. R. Civ. P. 45(A)(1)(D)(4) and (B)(4) or

 in the Alternative to Quash (ECF No. 255); Defendant Michael Peinovich’s Motion to Restrain

 Roberta Kaplan, Esq. and Kaplan and Company LLP from Further Improper and Unethical

 Extrajudicial Statements and for Sanctions; and Memorandum in Support (ECF No. 258);

 Defendant Michael Peinovich’s Reply Memorandum in Further Support of His Motion to

 Restrain Roberta Kaplan, Esq. and Kaplan And Company LLP from Further Improper and

 Unethical Extrajudicial Statements and for Sanctions (ECF No. 283).

        3.     “Document” or “Documents” means documents broadly defined in Rule 34 of the

 FRCP, and includes (i) papers of all kinds, including but not limited to, originals and copies,
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 however made, of letters, memoranda, hand-written notes, notebooks, work-pads, messages,

 agreements, rough drafts, drawings, sketches, pictures, posters, pamphlets, publications, news

 articles, advertisements, sales literature, brochures, announcements, bills, receipts, credit card

 statements, and (ii) non-paper information of all kinds, including but not limited to, any

 computer generated or electronic data such as digital videos, digital photographs, audio

 recordings, podcasts, Internet files (including “bookmarks” and browser history), online articles

 and publications, website content, electronic mail (e-mail), electronic chats, instant messages,

 text messages, uploads, posts, status updates, comments, “likes”, “shares”, direct messages, or

 any other use of Social Media, and (iii) any other writings, records, or tangible objects produced

 or reproduced mechanically, electrically, electronically, photographically, or chemically.

 Without limiting the foregoing in any way, every Communication is also a Document.

        4.      “You,” “Your,” or “Yours” refers to Defendant Peinovich and includes any

 persons or entities acting for him or on his behalf, including but not limited to all representatives,

 servants, agents, employees, officers, affiliates, subsidiaries, parent companies, third parties,

 attorneys, as well as any entities over which Defendant Peinovich has control.

                                          INSTRUCTIONS

        A.      Your responses to the following Interrogatories shall be based on all knowledge

 and information (whether or not hearsay or admissible) in Your possession, custody, or control.

        B.      These Interrogatories are continuing in nature. If, after making initial responses,

 Defendant obtains or becomes aware of any further Documents or information responsive to the

 Interrogatories, Defendant is required to supplement his responses and provide such Documents

 or information pursuant to Rule 26(e) of the FRCP.

        C.      When the term “identify” is used in these Interrogatories, please supply the

 following information as context requires:

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              i.   when used in reference to a natural person, state the person’s full name, present

                   or last known business and residential addresses, present or last known telephone

                   numbers or other contact information, and present or last known employment

                   position or business affiliation;

             ii.   when used in reference to any person who is not a natural person, state the full

                   name, present or last known address, and present or last known telephone

                   number or other contact information;

          iii.     when used in reference to an object, state the nature, type, and location of the

                   object and identify the person (natural or non-natural) who has custody or control

                   over the object.

        D.         If, in responding to any of the following Interrogatories, You encounter any

 ambiguity or confusion in construing either an Interrogatory or a Definition or Instruction

 relevant to an Interrogatory, set forth the matter deemed ambiguous, select a reasonable

 interpretation that You believe resolves the ambiguity, respond to the Interrogatory using that

 interpretation, and explain with particularity the construction or interpretation selected by You in

 responding to the Interrogatory.

        E.         If You believe that an Interrogatory calls for production of a Document or

 Communication, or requires disclosure of information, over which You claim attorney-client

 privilege, work product doctrine, or any other right to non-disclosure on any other basis, furnish

 a list identifying the Documents, Communications, or information for which the protection is

 claimed together with the following (if applicable): the type of Document or Communication; the

 date or dates of the Document or Communication; the name, position and address of each person

 who participated in the Document or Communication, to whom the Document or



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 Communication was addressed, or to whom the Document or Communication or the contents

 thereof have been communicated by any means; the general subject matter of the Document,

 Communication, or information; the specific basis for nonproduction or non-disclosure; and a

 description that You contend is adequate to support Your contention that the Document,

 Communication, or information may be withheld from production and/or disclosure. If a

 Document or Communication is withheld on the ground of attorney work product, also specify

 whether the Document or Communication was prepared in anticipation of litigation and, if so,

 identify the anticipated litigation(s) upon which the assertion is based.

        F.      References to any natural person shall be deemed to include that natural person’s

 agents, servants, representatives, current and former employees, and successors.

        G.      If You object to answering a specific Interrogatory, You shall state with

 particularity the basis for all objections with respect to such Interrogatory. You should respond

 to all portions of that Interrogatory that do not fall within the scope of Your objection. If You

 object to an Interrogatory on the ground that it is overly broad, provide such Documents and

 information that are within the scope of production that You believe is appropriate. If You

 object to an Interrogatory on the ground that to provide responsive Documents or information

 would constitute an undue burden, provide such responsive Documents or information as You

 believe can be supplied without undertaking an undue burden.

        H.      If the answer to all or part of an Interrogatory is that You lack knowledge of the

 requested information, set forth such remaining information as is known to You and describe all

 efforts made by you or by your attorneys, accountants, agents, representatives, or experts, or by

 any professional employed or retained by You, to obtain the information necessary to answer the

 Interrogatory. If any approximation can reasonably be made in place of unknown information,



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 also set forth your best estimate or approximation, clearly designated as such, in place of

 unknown information, and describe the basis upon which the estimate or approximation is made.

          I.    In answering each Interrogatory, You shall identify each Document relied upon

 that forms the basis for your answer or in any way corroborates Your answer or the substance of

 your answer.

          J.    A response identifying Documents falling within the scope of these

 Interrogatories shall state that the Documents have or will be produced, unless the Interrogatory

 is objected to, in which event the reasons for objection shall be specifically stated.

          K.    References to any non-natural person (e.g., corporation, partnership, entity,

 membership organizations, etc.) shall be deemed to include that non-natural person’s

 predecessors, successors, divisions, subsidiaries, parents, assigns, partners, members, and

 affiliates, foreign or domestic, each other person directly or indirectly, wholly or in part, owned

 by, controlled by, or associated with them, and any others acting or purporting to act on their

 behalf for any reason, and the present and former officers, directors, partners, consultants,

 representatives, servants, employees, assigns, attorneys, and agents of any of them.

          L.    The use of the singular form of any word includes the plural and vice versa.

          M.    The use of the past tense includes the present tense and vice versa, as necessary to

 bring within the scope of each Interrogatory all responses that might otherwise be considered

 outside its scope. Whenever a term is used herein in the present, past, future, subjunctive, or

 other tense, voice, or mood, it shall also be construed to include all other tenses, voices, or

 moods.




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          N.    The terms “and” and “or” should be construed either disjunctively or

 conjunctively as necessary to bring within the scope of the discovery request all responses that

 might otherwise be construed to be outside of its scope.

          O.    The word “all” means “any and all”; the word “any” means “any and all.”

          P.    The term “including” means “including, without limitation.”

          Q.    The masculine includes the feminine and neutral genders.

                                     INTERROGATORIES

          5.    Identify the name, address, email address, educational and professional

 background (including whether they have graduated from or are currently attending law school),

 and relationship to you of any person who assisted or advised you in preparing, including

 conducting legal research for, drafting, or commenting on drafts of, or with whom you shared or

 exchanged drafts in advance of filing with the Court, each of the Court Filings.


 Dated:     March 23, 2018
            New York, NY

                                                      /s/ Gabrielle E. Tenzer
                                                      Gabrielle E. Tenzer (pro hac vice)
                                                      Roberta A. Kaplan (pro hac vice)
                                                      Julie E. Fink (pro hac vice)
                                                      Christopher B. Greene (pro hac vice)
                                                      Seguin L. Strohmeier (pro hac vice)
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                                           Counsel for Plaintiffs



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2018, I caused the foregoing to be served on the
 following ECF participants, via email, addressed as follows:

 Justin Saunders Gravatt
 David L. Hauck
 David L. Campbell
 Duane, Hauck, Davis & Gravatt, P.C.
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 Richmond, VA 23220
 jgravatt@dhdglaw.com
 dhauck@dhdglaw.com
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 Counsel for Defendant James A. Fields, Jr.

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 bryan@bjoneslegal.com

 Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South

 Elmer Woodard
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 Blairs, VA 24527
 isuecrooks@comcast.net

 James E. Kolenich
 Kolenich Law Office
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 Cincinnati, OH 45249
 jek318@gmail.com

 Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
 Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
 Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
 Christopher Cantwell

 Michael Peinovich
 a/k/a Michael “Enoch” Peinovich
 PO Box 1069
 Hopewell Junction, NY 12533
 mpeinovich@gmail.com

 Pro Se
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        I further hereby certify that on March 23, 2018, I caused the foregoing to be served on the
 following non-ECF participants, via U.S. mail, First Class and postage prepaid, addressed as
 follows:

 Loyal White Knights of the Ku Klux Klan             Andrew Anglin
 a/k/a Loyal White Knights Church of                 P.O. Box 208
 the Invisible Empire, Inc.                          Worthington, OH 43085
 c/o Chris and Amanda Barker
 P.O. Box 54                                         East Coast Knights of the Ku Klux Klan
 Pelham, NC 27311                                    a/k/a East Coast Knights of the
                                                     True Invisible Empire
 Richard Spencer                                     26 South Pine St.
 1001-A King Street                                  Red Lion, PA 17356
 Alexandria, VA 22314
 -and-                                               Fraternal Order of the Alt-Knights
 P.O. Box 1676                                       c/o Kyle Chapman
 Whitefish, MT 59937                                 52 Lycett Circle
                                                     Daly City, CA 94015
 Moonbase Holdings, LLC
 c/o Andrew Anglin                                   Augustus Sol Invictus
 P.O. Box 208                                        9823 4th Avenue
 Worthington, OH 43085                               Orlando, FL 32824




                                                     /s/ Gabrielle E. Tenzer
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                                                     KAPLAN & COMPANY, LLP
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